Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 1 of 17



                              United States District Court
                                        for the
                              Southern District of Florida

    Kathleen Forbes and others,            )
    Plaintiffs,                            )
                                           )
    v.                                     ) Civil Action No. 17-81225-Civ-Scola
                                           )
    Wal-Mart Stores, Inc., Defendant.      )
           Order Granting the Defendant’s Motion for Summary Judgment
          This case is an offshoot of the underlying complaint addressed by the
   United States Supreme Court in Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338
   (2011). In Dukes, the Supreme Court reversed the lower court’s certification of a
   nationwide class of female Walmart employees claiming gender discrimination.
   The remaining Plaintiffs in this case, Kathleen Forbes, Linda Ray, and Edna
   Remington, having dropped the class claims alleged in their initial complaint,
   now seek redress individually. In their amended complaint (Am. Compl., ECF
   No. 26), the Plaintiffs, variously, lodge four counts of gender discrimination
   under Title VII: Ray and Remington allege disparate treatment and impact with
   respect to pay and promotions in Walmart Region 10 (counts one and three); and
   Forbes alleges disparate treatment and impact with respect to pay and
   promotions in Sam’s Club Region 6 (counts two and four). (Am. Compl., ECF No.
   26.) Walmart has now moved for summary judgment on a number of bases,
   maintaining there is no genuine dispute as to any material fact and that it is
   entitled to judgment as a matter of law with respect to all the Plaintiffs’ claims.
   (Def.’s Mot. for Summ. Judgment, ECF No. 90.) Although a number of Walmart’s
   arguments are entirely misplaced, it has nonetheless managed to meet its
   burden of supporting its motion. Conversely, the Plaintiffs have failed to come
   forward with competence evidence that shows there are any genuine issues of
   material fact to be decided at a trial. (Pls.’ Resp., ECF No. 126.) Accordingly, and
   after careful review of the relevant record in this case, the Court grants
   Walmart’s motion (ECF No. 90).

         1. Background
         The Plaintiffs here, all former employees of Walmart, maintain the
   company discriminated against them based on their gender. All three Plaintiffs
   worked at Walmart for several years: Forbes from 1990 to 2006; Ray from 1996
   to 2005; and Remington from 1993 to 2004. All three also worked as both hourly
   as well as salaried employees. In brief, they allege Walmart discriminated against
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 2 of 17



   them in connection with their compensation as well as promotion opportunities.
   They also contend that, company-wide, Walmart not only tolerated, but fostered,
   systemic discrimination against women throughout the workplace.

      2. Legal Standard
          Under Federal Rule of Civil Procedure 56, “summary judgment is
   appropriate where there ‘is no genuine issue as to any material fact’ and the
   moving party is ‘entitled to a judgment as a matter of law.’” See Alabama v. N.
   Carolina, 130 S. Ct. 2295, 2308 (2010) (quoting Fed. R. Civ. P. 56(a)). At the
   summary judgment stage, the Court must view the evidence in the light most
   favorable to the nonmovant, see Adickes v. S.H. Kress & Co., 398 U.S. 144, 158-
   59 (1970), and it may not weigh conflicting evidence to resolve disputed factual
   issues, see Skop v. City of Atlanta, Ga., 485 F.3d 1130, 1140 (11th Cir. 2007).
   Yet, the existence of some factual disputes between litigants will not defeat an
   otherwise properly grounded summary judgment motion; “the requirement is
   that there be no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc.,
   477 U.S. 242, 248 (1986). Where the record as a whole could not lead a rational
   trier of fact to find in the nonmovant’s favor, there is no genuine issue of fact for
   trial. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).
          “[O]nce the moving party has met its burden of showing a basis for the
   motion, the nonmoving party is required to ‘go beyond the pleadings’ and present
   competent evidence designating ‘specific facts showing that there is a genuine
   issue for trial.’” United States v. $183,791.00, 391 F. App’x 791, 794 (11th Cir.
   2010) (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986)). Thus, the
   nonmoving party “may not rest upon the mere allegations or denials of his
   pleadings, but [instead] must set forth specific facts showing that there is a
   genuine issue for trial.” See Anderson, 477 U.S. at 248 (citation omitted).
   “Likewise, a [nonmovant] cannot defeat summary judgment by relying upon
   conclusory assertions.” Maddox-Jones v. Bd. of Regents of Univ. of Ga., 2011 WL
   5903518, at *2 (11th Cir. Nov. 22, 2011). Mere “metaphysical doubt as to the
   material facts” will not suffice. Matsushita, 475 U.S. at 586.

      3. Analysis
      A. Disparate Impact Claims
          All three Plaintiffs allege gender discrimination through the adverse impact
   of Walmart’s facially neutral system for making decisions about compensation
   and promotions. Under a theory of discrimination based on disparate impact, a
   plaintiff need not show intentional discrimination. Jefferson v. Burger King Corp.,
   505 Fed. App’x 830, 834 (11th Cir. 2013). Instead, “[t]he disparate-impact theory
   prohibits neutral employment practices that, while non-discriminatory on their
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 3 of 17



   face, result in an adverse and disproportionate impact upon a protected group.”
   Id. The parties here do not dispute that, generally, in order to prove their
   disparate-impact claims, the Plaintiffs must establish “(1) there is a significant
   statistical disparity among members of different [genders]; (2) there is a specific,
   facially-neutral employment policy or practice; and (3) there is a causal nexus
   between the specific policy or practice and the statistical disparity.” Cooper v. S.
   Co., 390 F.3d 695, 724 (11th Cir. 2004).
          Walmart maintains the Plaintiffs have failed to (1) specify a particular
   policy or practice that resulted in the disparate impact or (2) present admissible
   evidence showing a significant statistical disparity among male versus female
   employees with respect to either pay or promotions. In response, the Plaintiffs
   acknowledge that “each Plaintiff’s circumstances must be evaluated to determine
   if she has presented a facially neutral practice and statistical evidence of an
   adverse impact.” (Pls.’s Resp. at 24.) At the same time, the Plaintiffs maintain
   they need not identify a particular policy or practice because they have
   “challenged Walmart’s subjective discretion in the compensation process and
   allege it was incapable of separation from any objective elements of pay” and can
   therefore be evaluated “as a single practice.” (Id. at 25.) They further advise that
   “[t]he statistical evidence when it is finally received from Walmart should be
   evaluated . . . by plaintiff, and will be addressed accordingly.” (Id. at 24.) After
   careful review, the Court finds the Plaintiffs have failed to come forward with
   competent evidence showing there is a genuine issue of material fact to be
   determined at trial regarding any of their disparate impact claims.
          To be sure, the Plaintiffs paint a disturbing picture of apparent gender
   discrimination that appears to have permeated much of Walmart’s workplace, at
   every level of the company, from its top management to its hourly workers in
   individual stores and everyone in between. According to the Plaintiffs, a statistics
   expert, Dr. Richard Drogin, retained in conjunction with the Dukes litigation (but
   not this litigation), concluded, over a decade ago, that women employed at
   Walmart earned far less money than their male counterparts and were promoted
   less frequently and only after working for longer periods. The
   underrepresentation of women in management positions and the disparity in pay
   between genders—according to Walmart’s own internal documents, say the
   Plaintiffs—appear to have been well known but were left, for years, largely
   unaddressed.
          To this point, the Plaintiffs rely on Drogin’s 2003 report, as well as a
   declaration he submitted, also in the Dukes litigation, in 2013, to support their
   disparate treatment claims. In his 2003 report, Drogin reached a number of
   damning conclusions, based on his analysis of data supplied by Walmart for
   nearly four-million employees who worked at Walmart from 1996 to 2002.
   According to the report, during that period, company-wide, women earned less
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 4 of 17



   money than men at Walmart. Drogin concluded this was because there was a
   disproportionate number of women in the lower-paying hourly jobs, as opposed
   to higher paying management positions, and because women earned far less
   money than men who held what Drogin described as the same category of jobs.
           The Plaintiffs also generally outline a number of Walmart “policies” that
   involved promotional and pay decisions. (Pls.’s Resp. at 11–13.) Regarding
   promotions from lower hourly positions to higher hourly positions, the Plaintiffs
   point to Walmart’s requirement that employees be in their current position for
   at least six months, have no “coachings” (a type of disciplinary measure) within
   twelve months, and that their evaluations not be below standards. (Pls.’s Stmt.
   of Facts ¶ 4, ECF No. 127, 5.) The evidence presented by the Plaintiffs shows
   that individual store managers were responsible for making hourly promotion
   decisions and that there is no written record regarding why a store manager
   selected one person over another for an hourly promotion. (Id. at ¶ 7.)
           With respect to promotions from hourly positions into management
   positions and promotions to successively higher levels within management, the
   Plaintiffs describe a number of other Walmart policies. For example, the Plaintiffs
   explain that certain management positions were filled by a “tap on the shoulder”
   system whereby higher-level managers simply designated people for openings.
   (Id. at ¶ 6.) The Plaintiffs also describe certain criteria used to evaluate employees
   for management promotions: at least one year with Walmart in a lower-level
   position; a performance evaluation of “meets expectations” or higher; no active
   disciplinary issues; up to date on training; not in a “high shrink” department;
   and a willingness to relocate. (Id. at ¶ 8.) Further, as the Plaintiffs present it,
   Walmart “had no formal system for the management in training program until
   January 2003.” (Id. at ¶ 10.)
           Regarding compensation policies, the Plaintiffs cataloged several other
   policies: a strong company policy against discussing pay (id. At ¶ 12); a pay
   structure based on job classes, each of which set a minimum start rate for each
   store (id. at ¶ 14); company-wide minimum start rates for jobs in the same class;
   store managers’ having discretion to pay a new employee up to $2 an hour above
   the minimum start rate (id. at ¶ 14); store managers’ having discretion over pay
   raises for hourly workers (id. at ¶ 16); and various policies regarding pay
   guidelines for salaried management and who made decisions regarding pay
   increases for those positions (id. at ¶¶ 18–21).
           The Plaintiffs’ presentation, however, falls short. To begin with, they rely
   on a report produced by an expert whom they did not timely disclose. Although
   Walmart was no doubt aware of the report from the prior litigation, its late
   disclosure by the Plaintiffs in this case prevented Walmart from deposing Drogin
   and countering with their own expert testimony as the evidence relates to these
   particular Plaintiffs (as opposed to the plaintiffs in the Dukes case). “Fed. R. Civ.
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 5 of 17



   P. 26(a)(2)(C) provides clear deadlines for the submission of expert reports to the
   court, and Fed. R. Civ. P. 37(c)(1) gives district courts discretion to exclude
   untimely submissions.” Bearint ex rel. Bearint v. Dorell Juvenile Group, Inc., 389
   F.3d 1339, 1348 (11th Cir. 2004). Under Rule 37(c)(1), the Plaintiffs may not use
   the late-disclosed expert report “to supply evidence on a motion . . . unless the
   failure was substantially justified or is harmless.” The Plaintiffs thus bear the
   burden of establishing that their failure is either justified or harmless. But rather
   than offering anything in the way of justification for the late disclosure, the
   Plaintiffs instead complain that Walmart is only seeking to exclude the report
   because it contains information damaging to its defense of this case. Thus, not
   only was the Plaintiffs’ failure to timely disclose the expert not justified, but, as
   they acknowledge, the late disclosure is clearly not harmless. The Court therefore
   excludes Drogin’s reports in considering Walmart’s motion. Since the statistical
   evidence contained in Drogin’s reports is the only statistical evidence the
   Plaintiffs submit in support of their disparate impact claims, those claims cannot
   survive summary judgment.
          Even if, however, the Court were to consider that evidence, the Plaintiffs’
   claims still suffer from fatal defects because they fail to directly link any
   particular policy or practice to these individual Plaintiffs’ compensation or
   promotional opportunities. In other words, from the record presented, the Court
   is unable to discern a causal connection between the policies they complain
   about and their low levels of pay and inability to attain promotions as compared
   to male Walmart employees. First, the Plaintiffs lump all of Walmart’s policies
   and practices into one unified general decision-making process rather than
   identifying any specific individual policies. In doing so they rely on 42 U.S.C. §
   2000e-2(k)(1)(B)(i) which provides an exception to the requirement that a plaintiff
   “demonstrate that each particular challenged employment practice causes a
   disparate impact.” Under the exception, a defendant employer’s “decisionmaking
   process may be analyzed as one employment practice” in the event a plaintiff is
   able to “demonstrate to the court that the elements of a respondent’s
   decisionmaking process are not capable of separation for analysis.” 42 U.S.C. §
   2000e-2(k)(1)(B)(i).
          The Plaintiffs’ argument here is a nonstarter. As an initial matter, the
   Plaintiffs have not even separated the policies regarding the Plaintiffs’ claims of
   disparate impact as they relate to pay from those relating to promotion. Nor have
   they distinguished between policies applicable to hourly as compared to salaried
   employees. Furthermore, the statute provision the Plaintiffs rely on places the
   burden on them to show that the elements of Walmart’s decision-making process
   are not capable of separation. Rather than bear that burden, the Plaintiffs
   instead complain that “Walmart does not present any argument about whether
   the subjective elements of the compensation decision can be separated from the
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 6 of 17



   objective elements.” (Pls.’ Resp. at 25.) The Plaintiffs’ conclusory proclamation,
   without more, that they have indeed presented evidence that the policies are
   incapable of separation, does not suffice.
          Ultimately then, even if the Court were to consider the statistical analyses
   in Drogin’s report, the Plaintiffs have fallen far short of carrying their initial
   burden of “show[ing] that a ‘specific employment practice’ has caused ‘statistical
   disparities’ in the treatment of employees in different protected classes.” Ladik
   v. Wal-Mart Stores, Inc., 13-CV-123-BBC, 2014 WL 4187446, at *8 (W.D. Wis.
   Aug. 22, 2014) (quoting Watson v. Fort Worth Bank & Trust, 487 U.S. 977, 994,
   (1988)). They provide no way for the Court to connect the causal dots between
   the Plaintiffs’ specific complaints regarding pay and promotion, or even female
   Walmart employees generally, to any particular employment practice. The
   Plaintiffs have simply failed to point to any genuine issue of material fact to be
   determined by a jury regarding their disparate impact claims.

       B. Disparate Treatment Claims
          Under Title VII of the Civil Rights Act, it is unlawful for an employer “to
   discriminate against any individual with respect to his compensation, terms,
   conditions, or privileges of employment, because of such individual’s . . . sex.”
   42 U.S.C. § 2000e-2(a)(1). A plaintiff may carry the burden of proving that her
   employer intentionally discriminated against her because of gender in a number
   of ways. One way is to rely on the three-step burden-shifting framework outlined
   in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802–05 (1973). “A plaintiff
   can also present direct evidence of discriminatory intent1 or demonstrate a
   ‘convincing mosaic’ of circumstantial evidence that warrants an inference of
   intentional discrimination.” Lewis v. City of Union City, Georgia, 918 F.3d 1213,
   1221 (11th Cir. 2019) (quotations and citations omitted).
          The first step of the McDonnell Douglas framework requires a plaintiff to
   set forth a prima facie case of intentional discrimination. To do so with respect
   to a case of intentional discrimination in compensation, “a plaintiff must
   establish that (1) she belongs to a [protected class]; (2) she received low wages;
   (3) similarly situated comparators outside the protected class received higher
   compensation; and (4) she was qualified to receive the higher wage.” Cooper, 390
   F.3d at 734–35. Regarding a failure-to-promote claim, the plaintiff must show
   “(1) that [she] belongs to a protected class; (2) that she applied for and was
   qualified for a promotion; (3) that she was rejected despite her qualifications; and
   (4) that other equally or less-qualified employees outside her class were


   1The Plaintiffs have not indicated that the discrimination they claim can be established by direct
   evidence. Nor have they at any point directed the Court’s attention to any record evidence that
   would show direct evidence of discrimination against any of these three Plaintiffs.
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 7 of 17



   promoted.” Brown v. Alabama Dept. of Transp., 597 F.3d 1160, 1174 (11th Cir.
   2010). Regarding comparators, “a valid comparison will turn not on formal
   labels, but rather on substantive likenesses.” Lewis, 918 F.3d at 1228. That is,
   “a plaintiff and her comparators must be sufficiently similar, in an objective
   sense, that they ‘cannot reasonably be distinguished.’” Id. (quoting Young v.
   United Parcel Serv., Inc., 135 S. Ct. 1338, 1355 (2015)).
          “If the plaintiff makes this [initial] showing, [s]he raises a presumption that
   h[er] race motivated h[er] employer to treat h[er] unfavorably.” Smith v. Lockheed-
   Martin Corp., 644 F.3d 1321, 1325–26 (11th Cir. 2011). Thereafter, “the burden
   then shifts to the employer to rebut this presumption by producing evidence that
   [the employer’s] action was taken for some legitimate, non-discriminatory
   reason.” EEOC v. Joe’s Stone Crabs, Inc., 296 F.3d 1265, 1272 (11th Cir. 2002).
   “If the employer meets its burden of production, the presumption of
   discrimination raised by the plaintiff’s prima facie case is rebutted and thus
   disappears.” Smith, 644 F.3d at 1325–26. Finally, if the presumption is rebutted,
   “the inquiry proceeds to a new level of specificity, whereby the plaintiff must
   show the employer’s proffered reason to be a pretext for unlawful
   discrimination.” Id. (quotations omitted).

       (1) Forbes has not set forth a claim of discrimination under the
           McDonnell Douglas framework.
          Prior to working for Walmart, Forbes had some experience working at other
   retail stores, including at an Ames Department Store. As the Ames store was
   going out of business, Forbes began working at Walmart’s store number 1085 in
   1990, at the refund desk. Three years later, she transferred to one of Walmart’s
   Sam’s Club stores, number 6448, in New Port Richey, Florida. At the Sam’s Club
   store, Forbes first ran the hot dog stand and then was promoted as “team lead”
   of the café. According to Forbes, after much effort over the course of many
   months, she was eventually promoted, in 2000, and took on the salaried position
   of photo lab manager. (Pls.’ Stmt. of Facts at 4, ¶ 26.) Forbes says that in October
   2005 she suffered a mental breakdown while at work and thereafter took three
   months of medical leave. (Forbes Aff. ¶ 7, ECF No. 130-4, 2.)2 She says that after
   her leave, Walmart “discharged” her in January 2006. (Id.)
          Forbes complains that throughout her tenure with Walmart she was
   repeatedly paid less than male workers in similar positions.3 In support she

   2 Although, as discussed below in section 3.B.(3), the Court is not affording Forbes’s unsworn

   affidavit any weight, it will nonetheless evaluate the allegations therein in an attempt to guide
   the parties’ litigation efforts in similar cases now pending before the Court.
   3 In the amended complaint, Forbes also alleges a claim for discrimination based on Walmart’s
   failure to promote her, in favor of less-qualified male employees. However, as pointed out by
   Walmart, Forbes failed to include any claim based on a failure-to-promote theory in her Equal
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 8 of 17



   identifies seven alleged male comparators in her complaint: Ken Smith, Alex
   Kellner, Scott Rhodes, Richard (last name unknown), Paul Hauldercourt, Joe
   Carruso, and John Bammon. (Am. Compl. at ¶¶ 128, 135, & 137.) Walmart
   maintains that six of these seven are not proper comparators and that for the
   seventh—Rhodes—Walmart has presented a legitimate, nondiscriminatory
   reason to explain their pay difference. Tellingly, in their opposition briefing to
   Walmart’s motion for summary judgment, the Plaintiffs do not even mention or
   identify, never mind discuss in any detail, a single one of these listed male
   employees or any other particular male employees who might qualify as
   comparators. Instead, the Plaintiffs complain that Walmart has produced only
   limited discovery,4 argue that other evidence (aside from comparator evidence)
   establishes Walmart’s discriminatory intent, and posit that all employees with
   the same job title (“such as sales associates”) should be considered comparators.
          To be sure, after a careful review of what appears to be the relevant
   portions of the record,5 the Court can find no support for classifying Smith,
   Kellner, Richard, Hauldercourt, Carruso, or Bammon as comparators to Forbes.
   The Court also finds that, even if it were to consider Rhodes a proper comparator,
   Walmart has successfully rebutted any presumption of discrimination by
   showing that its pay decisions were made for a legitimate, nondiscriminatory
   reason.
          Smith: To begin with, there is no evidence that Smith and Forbes were in
   any appreciable way similarly situated. Forbes complains that during two
   distinct periods, Smith was paid more than she was. During the first period,
   Smith had been hired as a “meat cutter/Associate in the Meat Department” while
   Forbes had been working in the refunds department, at the hot dog stand, and
   then team lead of the café. Forbes says that when Smith started, his initial wage
   was more than hers even though she had been working for Walmart for four
   years when he was hired. Forbes also says that, years later, Smith earned more

   Employment Opportunity Commission charge of discrimination. Instead, Forbes only claimed to
   have been discriminated against based on receiving less compensation than her male
   counterparts. Because her charge alleged only pay discrimination, and not promotion
   discrimination, the Court considers her promotion claims barred. Mulhall v. Advance Sec., Inc.,
   19 F.3d 586, 589 (11th Cir. 1994) (finding promotion claims properly barred where only pay
   claims were alleged in employee’s charge because “[a] claim of unequal pay is not the equivalent
   of a claim alleging a failure to promote”).

   4 For the reasons discussed in the following section (2), the Plaintiffs’ request under Rule 56(d)

   for a deferral of the Court’s consideration of the motion for summary judgment, pending the
   receipt of additional discovery from Walmart, is denied.

   5 The Court points out that the parties dumped over 6500 disorganized pages of evidence into
   the summary-judgment record. The Court has mostly confined itself to reviewing those portions
   of the record that the parties have specifically identified as addressing facts that the parties
   actually dispute.
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 9 of 17



   than she did when he was a meat-processing manager (as of 1998) and she was
   a photo manager (as of 2000). Without any specific support, the Plaintiffs, in
   their response to Walmart’s statement of facts, maintain that “Forbes and
   Smith’s positions were similar in material aspects” and that “[t]hough less
   experienced, Smith was compensated as a higher rate.” (Pls.’ Resp. to Def.’s Stmt.
   of Facts at 4, ¶ 58.) But Smith’s status as an hourly employee at the same Sam’s
   Club store where Forbes worked is not enough to establish that he and Forbes
   were similarly situated in all material respects. Nor is Smith’s position as a meat-
   processing manager, as of 1998, as compared to Forbes’s position as a photo
   manager, as of 2000. Many salient questions remain: Did the same person make
   rate-of-pay decisions for both of them? What criteria were relied on to make pay
   decisions for Forbes versus Smith? Did they both work the same shifts? Were
   the hazards or challenges of the two jobs comparable? Did both jobs require the
   same level of dexterity? Did they both manage the same number of subordinates?
   Were the workloads in both jobs comparable? Simply put, the Plaintiffs have not
   presented any evidence that would support treating Smith and Forbes as
   comparators.
         Kellner: Next, in her complaint, Forbes alleges Alex Kellner, who was a
   photo manager at another store, in Tampa, was paid more than she was despite
   working fewer hours and having the same level of experience. (Am. Compl. at ¶
   135.) Walmart, however, presented evidence (which the Plaintiffs did not dispute)
   that “[a]t no time during the course of Mr. Kellner’s and Ms. Forbes’[s]
   employment as Lab Managers, did Mr. Kellner earn a higher base salary than
   Ms. Forbes.” (Def.’s Stmt. of Facts ¶ 36, ECF No. 89, 5; Riley Aff. ¶ 50, ECF No.
   88-1, 11.) Forbes counters that although their base salaries may have been the
   same, Kellner was actually compensated more because of “bonuses/raises for
   which Forbes was denied.” (Pls.’s Resp. to Def.’s Stmt. of Facts at 4, ¶ 36.)
   However, the only support the Plaintiffs cite to in order to establish this fact is
   Forbes’s unsworn declaration wherein she simply says, “I understood that Alex
   Kellner was making more than me overall with his extra pay such as bonuses.”
   (Forbes Aff. ¶ 9, ECF No. 130-4, 2.) Forbes’s “understanding” as presented in an
   unsworn statement, is not evidence sufficient to carry her past summary
   judgment. Thus, even if Forbes had presented enough evidence to establish that
   Kellner is a comparator, which she likely has not, she has nevertheless not
   carried her of burden of rebutting Walmart’s showing that Kellner never received
   more compensation than she did. Nor did the Plaintiffs even bother articulating
   a response to Walmart’s argument in this regard in their opposition briefing to
   Walmart’s motion.
          Richard, Hauldercourt, Carruso, and Bammon: Forbes also names
   Richard, Hauldercourt, Carruso, and Bammon in her complaint as men who
   were earning higher salaries than she was. The Court is unable to find any
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 10 of 17



   evidence indicating that (1) the person Forbes identifies as Richard even exists
   or (2) Hauldercourt, Carruso, and Bammon are proper comparators. In disputing
   Walmart’s statement of facts regarding these employees, the Plaintiffs point to
   Forbes’s unsworn statement, again, and various paragraph numbers
   unassociated with any identifiable documents. (Pls.’s Resp. to Def.’s Stmt. of
   Facts at 1 n. 11, 2 n. 19, 2 n. 20.) The Court has reviewed the entirety of Forbes’s
   “affidavit”: none of these individuals is even so much as mentioned. Nor is the
   Court able to discern what evidence the Plaintiffs’ unassociated paragraph
   numbers relate to. As such, Forbes has fallen woefully short of carrying her
   burden of establishing any genuine issue of material fact with respect to these
   four employees.
          Rhodes: Assuming Rhodes is a proper comparator, which is not
   necessarily clear on this record, Walmart submits the Plaintiffs, in any event,
   have been unable to adduce evidence that Walmart’s legitimate,
   nondiscriminatory reason for the pay difference is pretextual. As Walmart has
   set forth, Rhodes was both more highly rated than Forbes and also generated far
   more profit for his photo lab than Forbes did—often doubling her profitability.
   (Def.’s Stmt. of Facts at ¶¶ 42–48.) While not disputing any of these facts or the
   admissibility of the evidence they are based on (e.g., Pls.’s Stmt. of Facts at 1 n.
   7; 1 n. 8; 2), the Plaintiffs argue that Walmart’s proffered non-discriminatory
   reason is simply a “guess by Wal-Mart’s counsel” based on “post hoc
   speculations” and inadmissible evidence (Pls.’ Resp. at 19–20.) These arguments
   all miss the mark. Lisa Riley, Walmart’s vice president of global compensation,
   set forth in her declaration that: (1) photo lab managers’ performance evaluation
   scores and their profitability were factors relied on in deciding their annual pay
   increases (Riley Aff. at ¶ 13); (2) Rhodes’s annual performance evaluations were
   consistently higher than Forbes’s (id. at ¶ 51); and (3) the profitability of Rhodes’s
   photo center greatly outpaced Forbes’s, by more than double in three out of the
   four relevant years (id. at ¶ 52). This amounts to sufficient evidence showing a
   legitimate, non-discriminatory reason to rebut any prima facie showing of
   discrimination: Walmart’s “evidence raises a genuine issue of fact as to whether
   it discriminated against [Forbes]” as it has “clearly set forth, through the
   introduction of admissible evidence, the reasons for [Forbes’s pay rate].” Texas
   Dept. of Cmty. Affairs v. Burdine, 450 U.S. 248, 254–55 (1981).
          In response, the Plaintiffs have failed to come forward with any competent
   evidence that Walmart’s proffered reason for the determination of Forbes’s
   compensation rate was actually just pretext for unlawful discrimination. As
   such, Forbes’s claim as it relates to Rhodes presents no genuine issue of material
   fact to be determined at trial.
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 11 of 17



         In sum, the Plaintiffs have failed to establish a prima facie case of unlawful
   discrimination under the McDonnell Douglas framework with respect to Forbes’s
   claims.

       (2) Plaintiffs Linda Ray and Edna Remington have not set forth claims of
           discrimination under the McDonnell Douglas framework.
          Ray and Remington both had experience prior to working at Walmart. Ray
   says she had management experience in some capacity (Pls.’ Resp. to Stmt. of
   Facts at 1 n. 13) and Remington had several years of retail experience, in other
   department stores, as a salesperson; department manager; assistant manager;
   and as an employee in fine jewelry (id. at 1 n. 15). Ray began working at Walmart,
   as an hourly employee, in store number 1374 in Altamonte Springs, in December
   1996. (Def.’s Stmt. of Facts at ¶ 59.) In 1998 she was promoted to department
   manager. (Id. at ¶ 61.) She resigned in 2003 but was then rehired in April 2005,
   again as a department manager in the same store. (Id. at ¶¶ 61–2.) Ray then
   resigned again, a few months later, in July 2005. (Id. at ¶ 63.) For her part,
   Remington began work at Walmart as an hourly associate as well. She started
   in 1993, in store number 613 in Ormond Beach. (Id. at 68.) In June 2000,
   Remington was promoted to the salaried position of assistant manager in
   another store. (Id. at ¶ 71.) In February 2002, she returned to store 613, where
   she stayed until she resigned in 2004. (Id. at ¶ 72.)
          Both Remington and Ray allege they were repeatedly passed over for
   promotions which were given instead to male employees. (E.g., Ray Am. Resps.
   to Interrogs., Exhibit O, ECF No. 130-13, 3; Remington Aff., Ex. K, ECF No. 130-
   10, 2.)6 They also both maintain there were many instances where their male
   counterparts were paid more than they were. (Remington Aff. at 1–2; Ray
   Interrog. Resps. at 4.) And while both Plaintiffs repeatedly insist there are many
   male comparators or male employees who were either equally or less-qualified
   who were promoted, they have failed to adduce actual evidence of a single one.
   In response to Walmart’s pointing out this deficiency, the Plaintiffs complain they
   are still awaiting discovery. As the Plaintiffs should well understand by now, the
   Court is not receptive to this argument. (See ECF Nos. 112, 114.) And it will
   certainly not consider affording them relief under Rule 56(d) at this late date,
   especially when such a request is not set forward in a separate motion but is
   instead inserted into a response to a summary-judgment motion. The Plaintiffs
   filed this case almost two years ago and have been involved in this litigation for
   decades. And while the case was stayed for seven months after it was filed, the
   Plaintiffs were nonetheless afforded plenty of time to marshal their evidence. The

   6 Although, as discussed below, the Court is not affording Remington’s unsworn affidavit or Ray’s
   interrogatory responses any weight, it will nonetheless evaluate the allegations therein in an
   attempt to guide the parties’ litigation efforts in similar cases now pending before the Court.
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 12 of 17



   fact discovery deadline has long since passed. Lastly, the Plaintiffs fail to specify
   what particular facts they expect that will allow them to rebut Walmart’s motion.
   This also dooms their 56(d) request. Smedley v. Deutsche Bank Tr. Co. Americas,
   676 Fed. App’x 860, 862 (11th Cir. 2017) (“Vague assertions that additional
   discovery will produce needed, but unspecified facts fail to meet this burden”
   under Rule 56(d).).
           In sum, the glaring absence of evidence supporting their claims precludes
   Ray and Remington from establishing a prima facie case of gender
   discrimination, with respect to either pay or promotion, under the McDonnel
   Douglas framework.

      (3) The Plaintiffs have not set forth evidence sufficient to establish a
          “convincing mosaic” of gender discrimination.
           Although the Plaintiffs have failed to carry their burden under the
   McDonnell Douglas framework, this is not, as the Plaintiffs correctly point out,
   the only pathway available to them to show a discriminatory intent with respect
   to the employment decisions they complain about. Instead, “[a] triable issue of
   fact exists if the record, viewed in a light most favorable to the plaintiff, presents
   a convincing mosaic of circumstantial evidence that would allow a jury to
   infer intentional discrimination by the decisionmaker.” Smith, 644 F.3d at 1328
   (quotations and citations omitted). The term “‘convincing mosaic’ is not a legal
   test”; instead it is really just used as “a metaphor to illustrate why courts should
   not try to differentiate between direct and indirect evidence” of workplace
   discrimination. Williams v. Hous. Opportunities for Persons with Exceptionalities,
   18-13600, 2019 WL 3072470, at *3 n. 4 (11th Cir. July 15, 2019) (quoting Ortiz
   v. Werner Enters., Inc., 834 F.3d 760, 764-65 (7th Cir. 2016)). By way of
   examples, “[a] ‘convincing mosaic’ may be shown by evidence that demonstrates,
   among other things, (1) suspicious timing, ambiguous statements, and other bits
   and pieces from which an inference of discriminatory intent might be drawn, (2)
   systematically better treatment of similarly situated employees, and (3) that the
   employer’s justification is pretextual.” Lewis v. City of Union City, 877 F.3d 1000,
   1018 (11th Cir. 2017), reh’g en banc granted, opinion vacated, on other grounds,
   sub nom. Lewis v. City of Union City, Georgia, 893 F.3d 1352 (11th Cir. 2018),
   and on reh’g en banc sub nom. Lewis v. City of Union City, Georgia, 918 F.3d 1213
   (11th Cir. 2019) (quotations and alterations omitted).
           In opposing Walmart’s motion for summary judgment based on their
   ability to present a convincing mosaic, the Plaintiffs point to the “pattern or
   practice” and “me too” evidence they say is in the record. (Pls.’ Resp. at 17–18.)
   The Plaintiffs neglect, however, to identify exactly what record evidence they say
   is applicable to their argument, apparently leaving the Court itself to dig through
   other parts of their opposition, their statement of facts, and other parts of the
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 13 of 17



   6500-page record for them. This is wholly improper. A “district court ha[s] no
   duty to dig through the record to attempt to substantiate [a party’s]
   unsubstantiated statement.” MARCO WATTS, Plaintiff - Appellee, v. CLUB
   MADONNA, INC., a Florida for-profit corporation, LEROY C. GRIFFITH, Defendants
   - Appellants., 18-13764, 2019 WL 3731311, at *4 (11th Cir. Aug. 8, 2019). That
   is, it is the non-moving party’s responsibility, not the Court’s, to properly flesh
   out arguments in opposition to a motion for summary judgment. Blue Cross &
   Blue Shield of Alabama v. Weitz, 913 F.2d 1544, 1550 (11th Cir. 1990). This is
   especially germane where, here, the parties have dumped over 6500 pages of
   documents on the docket during summary-judgment briefing.
           Regardless, since the Court has pending before it scores more cases like
   the instant one, it has nonetheless reviewed the Plaintiffs’ statement of additional
   facts (ECF No. 127) in an attempt to glean what types of hurdles the parties will
   both face in those additional cases as they move forward. Even after this
   supplementary review, however, the Court finds the Plaintiffs have not been able
   to proffer facts sufficient to present a convincing mosaic of gender discrimination
   with respect to these Plaintiffs. This is so for various reasons: the Plaintiffs often
   fail to establish their “facts” with supporting evidence; the supporting evidence
   they rely on is inadmissible; or the facts they present, without more, simply do
   not establish Walmart’s disparate treatment of these Plaintiffs.
           For example, with respect to unsupported “facts” the Plaintiffs have
   submitted, the Court points to paragraph 22 of the Plaintiffs’ statement of facts.
   In that paragraph, the Plaintiffs present as fact: “Wal-Mart’s own reporting
   support[s] discrimination.” (Pls.’ Stmt. of Facts at ¶ 22.) They then point to a
   number of internal documents in which Walmart purports to recognize that the
   percentage of women in Walmart’s management is very low and significantly lags
   behind several other retailers. (Id.) One of the documents they cite to is “Ex. 100.”
   But the Court searched through the Plaintiffs’ list of eighty exhibits and could
   not find an “Exhibit 100.” The Plaintiffs have either not submitted an Exhibit
   100 or they have not submitted it to the Court in a readily ascertainable manner.
   (E.g., Pls.’ Not. of Filing Corr’d Exs., ECF Nos. 130, 3; 131, 3; 132, 3; 133, 3
   (skipping from exhibit 87 to exhibit 101).) Similarly, in paragraph 37, the
   Plaintiffs point out that senior Walmart management referred to female
   associates at “little Janie Qs” and “girls.” In support, the Plaintiffs refer the Court
   to various pin cites in exhibit JJ. First, these pin cites do not exist in this exhibit
   and, second, neither phrase or word, in any event, appears anywhere in the
   referenced document. In at least two other examples the Plaintiffs again reference
   exhibits that do not appear to exist. (E.g., Pls.’ Stmt. of Facts at ¶ 28 (referring
   to nonexistent exhibit 1160); ¶ 37 (referring to nonexistent exhibit 124).)
           Some of the Plaintiffs’ most theoretically potent evidence is inadmissible.
   As discussed above, in section 3.A., expert Drogin’s report is inadmissible
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 14 of 17



   because the Plaintiffs never disclosed him as an expert. Additionally, Forbes and
   Remington have both submitted “affidavits” which present evidence that could,
   potentially, support a convincing-mosaic showing. (ECF Nos. 130-4, 130-10.)
   Inexplicably, however, neither affidavit is sworn or made under penalty of perjury
   as required under 28 U.S.C. § 1746. The Court cannot, therefore, rely on the
   contents therein in ruling on a motion for summary judgment. Dudley v. City of
   Monroeville, 446 Fed. App’x 204, 207 (11th Cir. 2011) (“Unsworn statements do
   not meet the requirements of Rule 56, so the district court could not—and
   properly did not—rely on the content of the citizen’s statement.”). The same goes
   for the unsworn interrogatories the Plaintiffs submitted on behalf of Ray. (ECF
   No. 130-13.)
          Further, the Plaintiffs present a litany of facts that purport to show that
   women are generally underrepresented in management positions and paid less
   than men, on average, in many positions. Not only does this fail to show that
   Walmart was purposely discriminating against women in order to attain such a
   result or that gender discrimination is Walmart’s standard operating procedure,
   but there is no competent evidence the Plaintiffs identify that actually links these
   purported disparities to the pay and promotion decisions that affected them. This
   missing link, even if the evidence establishes some discriminatory actions within
   the company, has prevented the Plaintiffs from establishing even a plausible
   mosaic, never mind a convincing one, regarding their own claims of intentional
   discrimination. See Chin v. Port Auth. of New York & New Jersey, 685 F.3d 135,
   149 (2d Cir. 2012) (noting that while “proof that an employer engaged in a pattern
   or practice of discrimination may be of substantial help in demonstrating an
   employer’s liability in the individual case, . . . such proof cannot relieve the
   plaintiff of the need to establish each element of his or her claim.”)
          Other “facts” the Plaintiffs identify include findings made by the “Women
   in Leadership Program” which was started within Walmart in 1992. Among the
   findings the Plaintiffs list in their statement of facts are “career decisions are
   made for associates based on gender”; “aggressive women intimidate men”; “men
   are interviewed as the replacements, women are viewed as support”; and “men’s
   informal network overlooks women.” (Pls.’ Stmt. of Facts at ¶ 26.) These issues
   are identified in a document that purports to have been prepared by a member
   of the Leadership Program. (Ex. 113, ECF No. 133-5, 1.) This document is
   particularly unhelpful to Ray and Remington since it states that the listed issues
   were identified in 1992—before either of them ever started working at Walmart—
   and there is no indication in the document that the issues identified continued.
   But even for Forbes, the document does not create a genuine issue of material
   fact, even for that limited time period. The findings listed in the document are
   thoroughly devoid of context. What is the breadth of the problems identified? Are
   they isolated or ubiquitous? What are the findings based on? Are they based on
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 15 of 17



   anecdotal reports? Statistical studies? General perceptions of the author? The
   statements themselves are conclusory and devoid of any specifics that have any
   evidentiary support. While this document certainly raises serious concerns
   about perceived gender issues within Walmart by some employees, there is
   nothing within the memo’s conclusory assertions and generalizations that raise
   any genuine issues of material fact as to Walmart’s intentional gender
   discrimination against these three Plaintiffs.
          In sum, the allegations the Plaintiffs present here certainly paint a
   disturbing picture regarding the treatment of female employees at Walmart
   compared to male employees. However, the Plaintiffs have nonetheless fallen
   short, in this case, of presenting a cohesive body of actually admissible evidence
   that would allow a jury to infer intentional discrimination against them by the
   decisionmaker. Even when the record is taken in the light most favorable to the
   Plaintiffs, it simply does not raise a reasonable inference of intentional
   discrimination with respect to these three Plaintiffs. Cf. Smith, 644 F.3d at 1324
   (where the Eleventh Circuit held summary judgment on a disparate treatment
   claim to be inappropriate because there was substantial evidence of
   discriminatory racial animus, including well-documented racial tensions
   following a workplace shooting resulting from racism and evidence indicating
   that the disciplinary decision made incorporated consideration of the plaintiff’s
   protected class); Holland v. Gee, 677 F.3d 1047, 1063 (11th Cir. 2012) (finding
   that a plaintiff had constructed a convincing mosaic with evidence showing that
   after disclosing her pregnancy, the fact that she was pregnant “became part of
   the decision-making process regarding her” employment and that “pregnancy
   was a subject of the discussions that led to her termination”).

      4. Walmart’s remaining arguments are without merit.
          Although the Court agrees with Walmart that the Plaintiffs have failed to
   come forward with evidence sufficient to submit their case to a jury, it
   nonetheless notes that many of Walmart’s arguments are wholly meritless, if not
   frivolous. Such improper arguments only detract from a party’s valid claims and
   waste scarce judicial resources.
          For example, among Walmart’s arguments is that the Plaintiffs’ “pattern
   or practice claims must be dismissed.” (Def.’s Mot. at 5–6.) But the Court has
   already advised the parties, in its order on Walmart’s motion to dismiss, that it
   would not be considering any stand-alone claims based solely on a pattern or
   practice of discrimination. (ECF No. 53, 2–3.) Further, to the extent Walmart
   claims the Plaintiffs should not be permitted to even present any evidence
   showing that there is a pattern or practice of discrimination at Walmart, its
   contention is without support. See Chin, 685 F.3d at 149 (noting that “proof that
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 16 of 17



   an employer engaged in a pattern or practice of discrimination may be of
   substantial help in demonstrating an employer's liability in the individual case”
   even though such proof, by itself, “cannot relieve the plaintiff of the need to
   establish each element of his or her claim.”); Nichols v. S. Illinois Univ.-
   Edwardsville, 510 F.3d 772, 782 (7th Cir. 2007) (“[A] plaintiff may use pattern
   evidence of disparate treatment even if that evidence is not rigorously statistical,
   although, standing alone, it is insufficient evidence to withstand summary
   judgment.”).
          Similarly, Walmart’s hypertechnical understanding of the requirements for
   a plaintiff’s Equal Employment Opportunity Commission charge of
   discrimination is misplaced. Going forward, Walmart is cautioned that the Court
   deems the Plaintiffs’ complaint allegations (with the sole exception of Forbes’s
   promotion claims, as described above in footnote 3 in section 3.B.(1)) to fall well
   within “the scope of the EEOC investigation which” would have been “reasonably
   [] expected to grow out of the charge[s] of discrimination.” Green v. Elixir Indus.,
   Inc., 152 Fed. App’x 838, 840 (11th Cir. 2005) (quotations omitted). Thus, to the
   extent Walmart seeks to raise this exhaustion argument in relation to the other
   cases pending against it, it must ensure that it is not relying on an overly narrow
   interpretation of what a plaintiff is required to present in an EEOC charge. That
   is, so long as the claims raised in a complaint are “sufficiently related to the
   allegations in the charge,” “it would be unfair to civil rights plaintiffs to bar such
   claims in a civil action.” Butts v. City of New York Dept. of Hous. Pres. & Dev.,
   990 F.2d 1397, 1402 (2d Cir. 1993) (emphasis added).
          Likewise, the Court takes issue with Walmart’s insistence that
   “comparisons between similarly-situated employees is required” for the Plaintiffs
   to prevail on their claims. (Def.’s Mot. at 7.) This is contrary to well established
   Eleventh Circuit precedent and Walmart is ordered to refrain from continuing to
   make this specious argument. E.g. Smith, 644 F.3d at 1328 (noting that “the
   plaintiff’s failure to produce a comparator does not necessarily doom the
   plaintiff's case”).
           In sum, and in light of the extraordinary number of related cases pending
   before the Court, counsel for both parties are forewarned that such continued
   sloppy briefing and unsupported arguments will not be tolerated going forward
   and will likely subject counsel to sanctions. The Court reminds counsel that
   sanctions may be imposed when a claim “has no reasonable factual basis”; or
   when a claim “is based on a legal theory that has no reasonable chance of
   success and that cannot be advanced as a reasonable argument to change
   existing law.” Worldwide Primates, Inc. v. McGreal, 87 F.3d 1252, 1254 (11th Cir.
   1996) (quotations omitted).
Case 9:17-cv-81225-RNS Document 156 Entered on FLSD Docket 08/16/2019 Page 17 of 17



      5. Conclusion
          As set forth above, the Court grants Walmart’s motion for summary
   judgment. (ECF No. 90). While the Plaintiffs’ presentation certainly indicates
   that something was indeed rotten within the corporate culture at Walmart, they
   have failed, at least in this case, to marshal enough evidence to propel their
   individual claims past summary judgment. It appears, however, to be only a
   matter of time before Plaintiffs’ counsel manages to get it right with one of the
   dozens of cases now pending before the Court. No doubt, in the right case and
   with the right advocacy, a female Walmart employee with better facts should be
   able to assemble a powerful case of gender discrimination that these Plaintiffs
   allege has plagued the entire Walmart operation for many years. The Court urges
   counsel for both sides to carefully consider which cases fall into this category
   and those which do not as they move forward with similar cases. The Court also
   advises counsel to carefully contemplate their obligations under Federal Rule of
   Civil Procedure 11(b) as they pursue and defend the other cases they are
   presently litigating before this Court.
          The Clerk is directed to close this case and any pending motions are
   denied as moot. Both the calendar call, set for September 10, 2019, as well as
   the trial date, set for September 16, 2019, are canceled.
         Done and ordered, at Miami, Florida, on August 16, 2019.

                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
